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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE


10X GENOMICS, INC. and PROGNOSYS
BIOSCIENCES, INC.,
           Plaintiffs,
                                           C.A. No. 21-cv-653-MFK
       v.

BRUKER SPATIAL BIOLOGY, INC.,
BRUKER NANO, INC., and BRUKER CORP.,
          Defendants.


    PLAINTIFFS 10X GENOMICS, INC. AND PROGNOSYS BIOSCIENCES, INC.’S
 OPPOSITION TO MOTION TO STAY PERMANENT INJUNCTION PENDING APPEAL

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I.     INTRODUCTION

       More than a year has passed since a jury found NanoString (now Bruker) to be a willful

infringer of 10x’s patents. In that time, Bruker has not redesigned its products to avoid

infringement or curtailed its marketing and sale of infringing products. Instead, Bruker has doubled

down, attempting to recapture market share on the back of 10x’s patented technology. Incredibly,

Bruker now seeks to expand its infringing beachhead for another year by delaying the injunction

and making the kinds of sales the Court has already found to irreparably harm 10x. Enough is

enough: under the legal standards that govern infringers whose business is based on use of a

competitor’s own patented technology, it is time for Bruker’s infringing conduct to be enjoined

without further delay.

       Bruker’s motion for stay of injunction pending appeal raises no basis for a stay that has not

already been addressed by this Court in its order granting injunction or by 10x’s proposed form of

injunction. Bruker devotes little attention to the most important factor—the likelihood of success

of its appeal—stating broadly that an appeal “raises multiple complex and substantial appellate

questions that could result in the reversal or vacatur of the injunction” and relying on average

reversal rates showing that it has a mere one-in-three chance of success. Bruker Br. at 13. Bruker

identifies only its now-familiar complaints about claim construction, the purported absence of

willful infringement, and Bruker’s claim that monetary damages adequately compensate 10x.

These are all arguments that the Court has already rejected, some repeatedly. See D.I. 370 (Order

re: JMOL) at 23 (claim construction); 25–26 (willful infringement) 35 (adequacy of money

damages). They should fare no better here or on appeal.

       Nor has Bruker shown that the public interest favors a stay at all, much less

“overwhelmingly,” as Bruker contends. Bruker Br. at 3. Bruker devotes most of its brief to telling

the Court that an injunction would disrupt both patient care and necessary life-saving research—a
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situation that would worsen during a global public health crisis. Bruker Br. at 3–10. But even

accepting Bruker’s representations concerning the importance of GeoMx for patient care and

research, and even if the avian flu or some other public health issue develops into a global crisis,

10x’s proposed injunction already permits that patient care and research to continue. As 10x

explained in its injunction briefing and at the hearing regarding that issue, the injunction’s carveout

provisions permit existing customers to continue their on-going research, whether for pure research

purposes or for the scattered identified cases where Bruker asserts that GeoMx is being used for

patient care. Bruker attempts to explain how these carveouts still do not address all possible ways

in which researchers might wish to use its products, but this speculation demonstrates only that it

will accept no injunction at all as a consequence of its infringement. Bruker’s intransigence

provides no basis to stay an injunction: the injunction’s carveout addresses the known research

and patient care needs of existing Bruker customers.

       The other factors similarly weigh against a stay. Bruker contends that enforcing the

injunction would irreparably harm Bruker by causing it to lose “key customer relationships,

valuable scientific collaborations, and market presence” (Bruker Br. at 12), but as the Court has

already found, those are the expected consequences for a company that has built a business by

willfully infringing its competitor’s patents. See D.I. 370 at 36. The possibility that Bruker’s

business and reputation will suffer because it can no longer infringe with impunity is not a reason

to stay an injunction. Nor does balancing the equities favor a stay pending appeal. While Bruker

contends that “the public interest of saving lives and developing new medical treatments dwarfs

10x’s harm” (Bruker Br. at 10-11), this both ignores the carveout provisions of the injunction and

misjudges the irreparable harm to 10x from being forced to compete with its own patented

technology.



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        Because Bruker cannot show that any of the relevant factors favor a stay, the Court should

decline to stay the injunction pending appeal.

II.     ARGUMENT

        Pursuant to Fed. R. Civ. P. 62(d), “the court may suspend, modify, restore, or grant an

injunction on terms for bond or other terms that secure the opposing party's rights.” As Bruker

contends, that decision is guided by the Nken factors, although Bruker omits their actual text, such

as the requirement of a “strong” showing of likelihood of success on the merits of the appeal: “(1)

whether the stay applicant has made a strong showing that he is likely to succeed on the merits; (2)

whether the applicant will be irreparably injured absent a stay; (3) whether issuance of the stay

will substantially injure the other parties interested in the proceeding; and (4) where the public

interest lies.” Nken v. Holder, 556 U.S. 418, 434 (2009). Bruker similarly omits Nken’s guidance

that likelihood of success on appeal and harm to Bruker are “the most critical” factors. Id. “A stay

pending appeal is an ‘extraordinary remedy.’” BYJU's Alpha, Inc. v. Camshaft Capital Fund, LP,

No. 24-10140 (JTD), 2024 WL 3487793, at *6 (D. Del. July 18, 2024) (quoting In re W.R. Grace

& Co., 475 B.R. 34, 205 (D. Del. 2012) (itself quoting United States v. Cianfrani, 573 F.2d 835,

846 (3d Cir. 1978))). Bruker has failed to carry its burden to show a stay is warranted under any

of the relevant factors.

        A.      Bruker Cannot Demonstrate Any Likelihood of Success on Appeal

        For this “critical” factor, which Bruker addresses last and in summary form, Bruker has

come forward only with arguments this Court has already rejected, in some cases repeatedly.

Bruker’s motion provides no basis for the Court to find these rejected arguments persuasive now.

        Claim construction. Once again, Bruker contends that “the claims should not have been

construed to encompass ‘targeted removal’ methods when the specification exclusively describes

‘spatial delivery’ methods.” Bruker Br. at 13-14. This contention was wrong during claim

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construction, wrong at summary judgment, and wrong in post-trial briefing, and the Court properly

rejected it each time. See D.I. 370 at 23. As the Court explained in its ruling on post-trial briefing:

“The Court has considered NanoString’s position throughout this litigation and has explained

numerous times that the patents do not limit the invention to delivery of probes in a spatial

matter on a tissue. The Court adopts its earlier orders on this point; no further reconsideration is

called for.” Id. The Court should not credit Bruker’s renewed contention in considering a stay.1

See Jazz Pharms., Inc. v. Avadel CNS Pharms., LLC, No. 21-cv-691-GBW, 2022 WL 17735952,

at *1 (D. Del. Dec. 5, 2022) (“This Court has already considered and rejected [appellant]’s

arguments . . . Accordingly, [appellant] has not made a strong showing that it is likely to succeed

on the merits.”); Wonderland Switzerland AG v. Evenflo Co., Inc., No. 20-cv-00727-JPM, 2023

WL 5569724, at *4 (D. Del. June 23, 2023) (“[Appellant] is not likely to successfully overturn the

jury’s finding of infringement, and its arguments to the contrary are not convincing . . . Some of

[Appellant’s] arguments have been considered and rejected more than once”).

       Willfulness. Bruker contends that the evidence before the jury did not support a finding of

willfulness, which if vacated on appeal would “require vacating the injunction.” Bruker Br. at 15.

Once again, the Court has already heard and rejected Bruker’s complaint. As the Court found in

its post-trial ruling, “10x presented witness testimony and exhibits that showed by a preponderance

of the evidence that NanoString knew of or was willfully blind to its infringement and nonetheless

continued to infringe.” D.I. 370 at 26. This included evidence that “NanoString’s Chief Scientific




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  In a footnote, Bruker argues that the “statistical reality of patent appeals” shows that it has a
reasonable probability of prevailing on appeal. Bruker Br. at 13, n. 5. This proves too much: if
appellate statistics from different cases, with different facts, were sufficient to stay an injunction,
then no injunction would take effect. More fundamentally, for the reasons discussed herein,
Bruker’s stated grounds for appeal are weak, and so predictions based on results across all appeals
(both meritless and meritorious) are not predictive of its likely success.
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Officer was aware of Dr. Chee’s spatial work but did not search or instruct anyone to search for

Dr. Chee’s patents despite conceding that a patent search is routine practice” and that in “2019,

NanoString’s Chief Executive Officer instructed his team to mine 10x’s S-1 securities filings for

competitive intelligence but did not instruct them to investigate Dr. Chee’s patents,

notwithstanding acknowledging that Visium was a competing product.” Id. at 39. Bruker’s brief

nowhere explains why its acts demonstrating willful blindness to 10x’s patents is insufficient for

the jury to have found willful infringement. Finally, Bruker cites no authority for the proposition

that if the jury’s willful infringement finding is vacated, then the Court’s injunction must be

vacated too. Bruker Br. at 14-15. 10x is aware of no requirement of willful infringement as a

prerequisite to the issuance of a permanent injunction, and the Court’s grant of an injunction was

predicated on a thorough analysis and balancing of the evidence before it – not merely the jury’s

finding of willful infringement. D.I. 370 at 32-38.

       Adequacy of Money Damages. Bruker contends that it will show on appeal that an

injunction was “unnecessary” because Bruker has acquired NanoString and has “billions in

revenue,” demonstrating that damages are an adequate remedy for its infringement. Bruker Br. at

15. Bruker misses the point. While the Court noted NanoString’s precarious financial position as

one basis for its finding that money damages were inadequate, the Court further found money

damages inadequate because NanoString “captured part of the market that 10x created with its

patented technology” – a form of competitive harm that cannot be compensated adequately by

monetary damages alone. D.I. 370 at 35. As the Court explained, an “increase in the infringer’s

market share while infringing on the patentee’s products ‘underscores the profitability of

infringement and suggests that mere damages will not compensate for a competitor’s increasing

share of the market.’” Id. This, the Court found, “strongly indicates that remedies at law are



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insufficient.” Id. Bruker’s brief does nothing to disturb that finding. Bruker’s relative financial

might only heightens the risk of irreparable harm as Bruker ramps up its efforts to take market

share. Nor does Bruker address the Court’s finding that Bruker’s ongoing infringement causes

reputational harm to 10x. As the Court found in granting the injunction: “Having been careful not

to license its technology, 10x suffers when it proclaims itself as an innovator in spatial genomics

but a competitor is using the same innovative, patented technology.” D.I. 370 at 34.

       B.      Bruker Has Not Shown It Will Be Harmed Without a Stay, Let Alone
               Irreparably Harmed

       For this next “critical” factor in the stay analysis, Nken, 556 U.S. at 434, Bruker contends

that enforcing the injunction would irreparably harm it by “destabiliz[ing] Bruker’s standing in the

spatial genomics market with lasting consequences,” by causing it to lose “key customer

relationships, valuable scientific collaborations, and market presence.” Bruker Br. at 12. None of

this is supported by evidence: for example, Bruker has provided no declaration from any executive,

customer, or expert witness demonstrating that these things will occur. Any reputational harm to

Bruker is Bruker’s own doing and has already happened—Bruker voluntarily acquired an

infringing business with everyone fully aware that the Court could enjoin that business at any point

after the deal closed. By contrast, the Court has found that it is 10x that is irreparably harmed by

Bruker’s continuing infringement in terms of “its perception in the marketplace by customers,

dealers, and distributors.” D.I. 370 at 34.

       More fundamentally, the speculation by Bruker’s attorneys that Bruker’s business will

suffer if it can no longer infringe is “insufficient to warrant a stay of an otherwise appropriate

injunction.” Fisher-Price, Inc. v. Safety 1st, Inc., 279 F. Supp. 2d 526, 529 (D. Del. 2003). As the

Court has already found in granting the injunction, “[o]ne who elects to build a business on a

product found to infringe cannot be heard to complain if an injunction against continuing


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infringement destroys the business so elected.” Windsurfing Int’l, Inc. v. AMF, Inc., 782 F.2d 995,

1003 n.12 (Fed. Cir. 1986). See also E.I. DuPont de Nemours & Co. v. Phillips Petroleum Co.,

659 F. Supp. 92, 94 (D. Del. 1987) (“the loss of customers or business built upon the sale and use

of infringing products does not amount, in the context of a patent infringement suit, to irreparable

harm from which [the defendant] should be shielded”). Bruker has not and cannot establish that

its speculative harms are likely to occur. Revel AC, Inc. v. IDEA Boardwalk LLC, 802 F.3d 558,

569 (3d Cir. 2015) (“On the second factor, the applicant must ‘demonstrate that irreparable injury

is likely [not merely possible] in the absence of [a] [stay].’ While a reference to ‘likelihood’ of

success on the merits has been interpreted by courts to cover the generic range of outcomes, for

irreparable harm we understand the Supreme Court’s use of ‘likely’ to mean more apt to occur

than not.”) (alteration in original, quoting Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7,

22 (2008) and citing Michigan v. U.S. Army Core of Engineers, 667 F.3d 765, 788 (7th Cir. 2011)).

       Finally, in practically the same breath as its assertion that the injunction would “cast a long

shadow over Bruker’s entire business,” Bruker Br. at 13, Bruker avers that GeoMx is a “sunsetting

product” with limited demand beyond high-plex protein analysis. Bruker Br. at 11. The potential

loss to Bruker of “market presence” is hard to credit when by Bruker’s estimation the GeoMx

instrument business constitutes only 0.2% of Bruker’s revenue. Ex. 1 [Bruker 12/24/2024 Press

Release]2 (“GeoMx instrument revenue represent less than 0.2% of Bruker's total revenue.”). This

admission calls into serious doubt Bruker’s account of irreparable harm to its business if there is

no stay.




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 Available at: https://ir.bruker.com/press-releases/press-release-details/2024/Bruker-Comments-
on-Delaware-District-Courts-Post-Trial-Ruling-in-Case-Involving-GeoMx-Digital-Spatial-
Profiler-Products/default.aspx.
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       C.      The Public Interest Does Not Support Staying the Injunction

       Bruker devotes most of its brief to contending that any injunction against its continued

infringement (whether in the form proposed by 10x, or by Bruker) would be contrary to the public

interest. Bruker has failed to meet its burden on this factor as well, because the specific ongoing

research and patient care projects of which Bruker complains are already permitted under the

injunction proposed by 10x. Bruker’s further speculation about possible future projects, or global

health care crises, does not support its demand to continue its willful infringement. Nor has Bruker

shown that any such future research could not be designed and carried out on 10x’s own products.

               1.      The Public Interest in Research and Patient Care Is Already
                       Addressed in 10x’s Proposed Injunction

       Bruker contends that enforcing the injunction would cost lives by interfering with, or

ending, patient care and necessary life-saving research – activities that would take on even greater

importance during a global public health crisis. Bruker Br. at 3-10. But 10x has no desire to inhibit

life-saving research: that is why the company exists. 10x’s core mission is to “advance human

health” by delivering “powerful, reliable tools that fuel scientific discoveries and drive exponential

progress to master biology” toward that very end. See https://www.10xgenomics.com/company.

That is the reason 10x has invested hundreds of millions of dollars in research and development

of its pioneering products, and why 10x has sought to protect that investment through the patent

laws. And that is the reason 10x’s proposed form of injunction already permits the in-progress

patient care and research work Bruker identifies in its brief. Staying the injunction would have no

impact on that work, and enforcing the injunction would not harm the public interest.

       As 10x explained in its injunction briefing, its proposed form of injunction includes

carveouts that exempt from injunction the sale by Bruker of consumables to its installed base of

GeoMx customers for the purposes of conducting ongoing research. D.I. 381 at 4-5, 8-9. The


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proposed form of injunction defines “ongoing research” broadly to include both the research and

patient care activities Bruker has identified:

        “Ongoing Research” shall refer to experiments, studies, clinical trials, or grant
        projects by Existing Instrument Customers that involve the use of GeoMx
        consumables and that were in-progress before November 18, 2023. “Ongoing
        Research” shall also include the sale of consumables to Existing Instrument
        Customers that are currently using the GeoMx DSP Analysis Instrument in a
        Laboratory-Developed Test (LDT) consistent with FDA regulations for use in
        performing such LDT and where such LDT was validated and in use before
        November 18, 2023.

D.I. 381-1 at 3 (Proposed Permanent Injunction).

        On its own terms, the injunction would permit Dr. Dulai of Northwestern University, a

declarant and witness on behalf of Bruker, to continue his use of GeoMx; that work was in progress

before November 18, 2023. There can be no real dispute that the injunction would also permit Dr.

Mills, another Bruker witness, to continue to use GeoMx as part of the SMMART trials for cancer

treatment. That work is also addressed in the injunction, because the SMMART trials involve a

Laboratory-Developed Test (LDT) that was validated and in use before November 18, 2023. As

such, Bruker may continue to sell GeoMx consumables to Dr. Mills and his lab, including in

connection with the planned expansion of those trials in April 2025. See Bruker Br. at 5. The same

is true of the work described in the various declarations submitted by Bruker (Bruker Br. at 6)

describing ongoing research using GeoMx. No stay is necessary to support the public interest in

continuing this research, because even under the injunction, this work can continue. Other courts

in this district have declined to stay injunctions pending appeal in just such circumstances. See

Jazz Pharms., Inc. v. Avadel CNS Pharms., LLC, No. 21-cv-691-GBW, D.I. 710, at 4 (D. Del. Sept.

24, 2024) (declining to stay injunction where injunction was limited to “initiating new clinical

trials or studies”).




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       Bruker does not deny any of this. Nowhere does it show, or even suggest, that Drs. Dulai,

Mills, or its other declarants could not continue to do the work they have described under the terms

of 10x’s proposed injunction, and 10x has already confirmed that this is the intent of the carveout.

Bruker’s brief does not identify a single specific test that these doctors could not continue to

perform under the proposed injunction’s carveout for ongoing research. Accordingly, Bruker’s

complaints that enforcing the injunction would disrupt this work are without merit and cannot

support a stay.

                  2.   Bruker’s Speculation About New Research Projects and Global
                       Health Events Cannot Support Staying the Injunction

       Left without facts showing existing research and patient care using GeoMx would be

disrupted without a stay, Bruker provides only speculation to contend that enforcing the injunction

would be against the public interest. Bruker Br. at 9-10. Bruker suggests that the injunction’s

carveout for ongoing research “seemingly excludes” additional work Dr. Dulai and other doctors

might wish to perform, such as “follow-up research, replication studies, later rounds of clinical

trials, efforts to apply the research to new patient populations, and modifications to project scope,

as well as use for public health crises like the bird flu.” Id. Again, Bruker identifies no specific

research projects that would be excluded under the injunction’s carveout for ongoing research. To

the extent such work does not meet the carveout for ongoing research, because for example the

work was not in progress as of that date, then (as discussed below) Bruker has identified no reason

why GeoMx owners who are not in the process of completing research cannot stop infringing the

patents and design future experiments around the newer, more powerful Visium offerings from

10x.

       Similarly, Bruker cites testimony from the hearing regarding the form of injunction to

contend that “10x’s proposal also excludes potentially lifesaving medical research that started after


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November 18, 2023—including a dozen projects discussed at the evidentiary hearing that could

contribute to treatments for Alzheimer’s, melanoma, and lung disease, among others.” Bruker Br.

at 10. But its showing is purely illusory, based on a single page of testimony from a Bruker

employee who performed a keyword search in an NIH database and purported to have found 12

additional research projects using GeoMx that were “brand new” in 2024. D.I. 383-03 at 74:14-

75:18. But Bruker presents nothing about these research projects other than its employee’s say-so,

such as evidence from the researchers themselves describing the project’s use of GeoMx, when it

began, and why the research could not be completed using 10x products. The only thing Bruker

can say about these issues is that the project used the word “GeoMx.” That is insufficient to

support a stay.

                  3.    Bruker Has Failed to Show That 10x Products Cannot Meet Future
                        Research Needs

        Bruker argues that its infringing GeoMx product “needs to be accessible if it is to make a

difference in the next public health crisis,” contending that no other products on the market

(including Visium) “can serve as an acceptable substitute.” Bruker Br. at 6-7. But Bruker’s reliance

on the specter of a global health crisis to insist that it should be free to continue to willfully infringe

because its products may be useful in the future ignores the evidence showing that 10x’s own,

superior Visium product (which uses the same patented technology Bruker is unlawfully using) is

more than capable of meeting the research needs of any future public health crisis.

        As an initial matter, while Bruker contends that GeoMx research saved lives during the

COVID-19 pandemic, Bruker’s further contention that “none of it would have been possible

without GeoMx” is without support. In fact, the available evidence shows that research utilizing

10x’s Visium was at least as critical in responding to COVID-19, and more widely used in

important research during that crisis than GeoMx. For example, a search of the bioRXiv preprint


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server for biological research shows that Visium accounted for more than twice the amount of

published research on COVID than did GeoMx, 3 and Bruker has not shown that Visium cannot

fulfill the same central role in the next pandemic.

       Bruker similarly misses the mark when it suggests that GeoMx is “CLIA approved for

patient care” (Bruker Br. at 6) but that Visium is not (id. at 8 n.4) in arguing that Visium cannot

substitute for GeoMx in CLIA-accredited labs like Dr. Mills’ lab at OHSU. That misdescribes

CLIA accreditation. GeoMx is not “CLIA approved,” because CLIA is an accreditation for

laboratories, not research tools. As the Centers for Medicare and Medicaid Services (CMS)

explain, while the instruments used are reported in a CLIA application, the CLIA certification

attaches to the laboratory based on the complexity of tests performed at the laboratory and their

purpose, and the certification is not limited to the use of a specific instrument like GeoMx. 4

Accordingly, CLIA certified laboratories like Dr. Mills’ lab at OHSU may continue to perform

different tests, using different instruments such as 10x’s Visium, so long as they are of the same

complexity that characterized their accreditation within their approved specialties. Any changes in

test methods only require notification to the accreditation program, not a new certificate. See 42

C.F.R. § 493.63 (2025) (stating that accredited labs must “[n]otify the accreditation program no

later than 6 months after of any deletions or changes in test methodologies for any test or

examination included in a specialty or subspecialty, or both, for which the laboratory has been

issued a certificate of accreditation.”). In fact, the evidence shows that Visium is already in current

use in CLIA labs, including by Contract Research Organization (CRO) labs that provide services like



3
  Compare Ex. 3 (107 articles concerning COVID research and Visium) with Ex. 4 (44 articles
concerning COVID research and GeoMx).
4
  Ex. 5 (How to Obtain a CLIA Certificate) at 4 (“The purpose for which the test is conducted, not
the test itself, determines whether a facility conducting testing is subject to the CLIA
requirements.”).
                                                  12
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clinical patient trials to pharmaceutical companies.5 So there is no bar to these researchers moving

their work to Visium.

        Bruker complains that only GeoMx offers high-plex protein analysis to support needed

research, but that is not supported by the evidence. As 10x demonstrated in briefing and at the

hearing regarding the form of the injunction, Visium now provides the capability to analyze more

than 500 proteins along with RNA, and on the same slides. 6 Visium customers that wish to

perform protein analysis with Visium can simply purchase antibodies to detect the proteins they

want from established vendors. By doing so, customers can achieve greater than 500-plex in their

protein tests, easily matching what GeoMx provides. Bruker’s witnesses also did not rebut the

substitutability of this newer Visium assay. Dr. Dulai admitted that he had not attempted to use the

Visium assay that allows for protein detection on the same slide as RNA detection. Ex. 2 (1/23/25

Tr.) at 35:7-10. Dr. Mills did not know whether Visium was in use in CLIA labs around the country

(id. at 52:12-16), and Dr. Mills had not attempted to get accredited to use Visium in his CLIA lab.

Id. at 52:5-7.

        Moreover, the unrebutted evidence shows that Visium is the superior product in

comparison to GeoMx to meet any future research needs, including a public health crisis. The

Visium platform now also includes a CytAssist instrument that matches GeoMx’s capabilities, and

provides a super high resolution Visium HD assay, which gives an order of magnitude better

resolution than what Bruker’s GeoMx can provide .7


5
  See, e.g., https://www.seqmatic.com/services/clia-laboratory/ (“The SeqMatic CLIA/CAP
laboratory provides a range of services for histopathology” and listing Visium at
https://www.seqmatic.com/services/spatial-transcriptomics/).
6
  Ex. 2 (1/23/25 Tr.) at 94:7-95:9.
7
  Ex. 2 (1/23/25 Tr.) at 97:14-102:18; D.I. 381-06 (Plaintiffs’ Exhibit C); and D.I. 381-07 (Plaintiffs’
Exhibit D) (all describing Visium HD, including its single cell resolution); Ex. 2 (1/23/25 Tr.) at 84:14-
84:20 and D.I. 381-04 (Plaintiffs’ Exhibit A) at 52 (describing GeoMx as having a resolution of tens
of cells to hundreds of cells).
                                                   13
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       This evidence shows that 10x’s Visium is more than ready to meet any future research need

that Bruker purports can be met only by GeoMx, and Bruker has failed to meet its burden to show

that the public interest supports a stay. Finally, to the extent some true public health emergency

gives rise to an unforeseen research need that might fall outside the injunction carveout, then

Bruker can seek modification of the injunction from the Court.

       D.      The Balance of Equities Supports Enforcing the Injunction

       The balance of the equities favors enforcing the injunction, now. Bruker contends that “the

public interest of saving lives and developing new medical treatments dwarfs 10x’s harm,” because

while a stay would be meaningful to patients and researchers, a “stay would make almost no

difference to 10x’s pocketbook.” Bruker Br. at 10-11. But Bruker is wrong on both sides of the

equation: its account of harm to research is unfounded and speculative, and its hand-waving

assurances that 10x will not be harmed by a stay ignores that the harm to 10x absent an injunction

would be irreparable, as this Court has already found.

       As discussed above, the proposed form of injunction already addresses the legitimate

current and future research needs of existing customers, by exempting all ongoing research that

commenced prior to the jury verdict from the terms of the injunction. Bruker’s speculation about

future research projects is just that – speculation – and cannot meet Bruker’s burden to show harm

absent a stay. Nor has Bruker rebutted 10x’s showing that 10x’s superior Visium product is a more

than suitable substitute for any future research and patient care needs. Bruker again suggests that

its current GeoMx revenue “comes almost entirely from scientists using high-plex protein analysis”

(Bruker Br. at 11), but its contention that scientists could not perform high-plex protein analysis

without GeoMx is unfounded. As demonstrated at the hearing by the testimony of 10x’s Dr. Peter

Smibert, Visium currently has the capability to detect proteins at the same time, on the same tissue



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slide as the RNA assay.8 Bruker suggests that this capability requires “modification” of Visium

as a “DIY” project beyond the capabilities of most researchers (Bruker Br. at 9), but the evidence

shows that is untrue. Visium customers are not required to invent or modify anything to perform

protein analysis with Visium; they can simply purchase antibodies to detect the proteins they want

from established vendors. By doing so, customers can achieve greater than 500-plex in their

protein test. Bruker has simply not shown that the impact on researchers and patients from

enforcing the injunction now favors a stay.

           While it overestimates the impacts of the injunction on its customers, Bruker also wrongly

undervalues the harm to 10x from a stay of injunction. Bruker assures the Court that its remaining

GeoMx sales are small, and primarily relate to high-plex protein analyses, so any harm to 10x from

a stay is limited, since the dollar value of its lost sales to GeoMx is comparatively small, and in an

area where Visium does not compete. Bruker is wrong on both counts. There is more harm to 10x

from Bruker’s continued willful infringement than lost revenue and sales. As the Court found,

“10x has also shown that it has experienced harm to its reputation”:

          Having been careful not to license its technology, 10x suffers when it proclaims
          itself as an innovator in spatial genomics but a competitor is using the same
          innovative, patented technology. See id. (stating that a company's “reputation as an
          innovator will certainly be damaged if customers found the same innovations
          appearing in competitors' products”) (internal quotation marks omitted).
          NanoString disputes 10x’s contentions of harm to its reputation, arguing that 10x
          has harmed its own reputation by interfering with NanoString’s relationships with
          its customers and threatening NanoString's customers with litigation for patent
          infringement. But this amounts to a backhanded concession of 10x’s argument
          about harm to its reputation. 10x would have no reason to threaten litigation against
          potential customers if NanoString had not sold those entities GeoMx products that
          infringed upon 10x’s patents.

D.I. 370 at 34.




8
    Ex. 2 (1/23/25 Tr.) at 94:7-95:9.
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       Such reputational harm is irreparable: 10x cannot be adequately compensated for it by

money damages. See Douglas Dynamics, LLC v. Buyers Prods. Co., 717 F.3d 1336, 1345 (Fed.

Cir. 2013) (“Where two companies are in competition against one another, the patentee suffers the

harm—often irreparable—of being forced to compete against products that incorporate and

infringe its own patented inventions.”). These harms to 10x will only continue to accrue if a stay

is granted. The continued reputational harm to 10x from Bruker’s continued willful infringement

will be particularly pronounced given that Bruker’s apparent remaining business for GeoMx –

high-plex protein analysis – is exactly where 10x has focused its own investment, enabling new

high-plex protein analysis capabilities for Visium that it is now introducing to the research

community. As the Court has noted, “10x suffers when it proclaims itself as an innovator in spatial

genomics but a competitor is using the same innovative, patented technology.” D.I. 370 at 34.

That is the harm threatened here if the injunction is stayed.

III.   CONCLUSION

       None of the factors to be considered in assessing the appropriateness of a stay of injunction

favors a stay here. 10x respectfully requests that Bruker’s motion for a stay of the Court’s

injunction be denied, and the proposed form of injunction requested by 10x should be entered.




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Respectfully Submitted,

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